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7

8                         IN THE UNITED STATES DISTRICT COURT

9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,               ) 2:10-CR-00299-10 WBS
                                             )
12               Plaintiff,                  ) UNITED STATES’S MOTION TO
                                             ) DISMISS INDICTMENT WITH
13         v.                                ) PREJUDICE AND PROPOSED ORDER
                                             )
14   JOSE JESUS AGUILAR-MADRIZ,              )
                                             ) Judge: Hon. William B. Shubb
15               Defendant.                  )
                                             )
16                                           )
                                             )
17

18                                  MOTION TO DISMISS

19         The United States, by and through its undersigned counsel,

20   hereby moves for an order dismissing the Second Superseding

21   Indictment and Third Superseding Indictment only against defendant

22   Jose Jesus Aguilar-Madriz pursuant to Federal Rule of Criminal

23   Procedure 48(a).

24         On September 13, 2013, the United States entered into a plea

25   agreement with defendant Jose Jesus Aguilar-Madriz.           Under the terms

26   of the agreement, the United States agreed to dismiss the charges

27   filed against the defendant in the above-captioned case (2:10-CR-

28   00299-WBS) following the defendant’s sentencing in case number 2:11-

29
     Motion to Dismiss                        1        United States v. Aguilar-Madriz
            Case 2:10-cr-00299-WBS Document 377 Filed 04/09/14 Page 2 of 2


1    CR-00365-GEB.       On March 14, 2014, the defendant was sentenced in case

2    number 2:11-CR-00365-GEB.

3          In accordance with the plea agreement between the parties and

4    pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure,

5    the United States now moves to dismiss with prejudice the pending

6    Second Superseding Indictment and Third Superseding Indictment

7    against this defendant only in the above-captioned matter.

8
9    DATED: April 6, 2014               Respectfully Submitted,
10                                      BENJAMIN B. WAGNER
                                        United States Attorney
11

12                                        /s/ Justin L. Lee   _
                                        JUSTIN L. LEE
13                                      Assistant U.S. Attorney
14

15

16
                                           ORDER
17
           IT IS SO FOUND AND ORDERED.      Pursuant to Federal Rule of
18
     Criminal Procedure 48(a), for the reasons set forth above, IT IS
19
     HEREBY ORDERED that the pending Second Superseding Indictment and
20
     Third Superseding Indictment in case number 2:10-CR-00299-WBS is
21
     DISMISSED WITH PREJUDICE with respect to defendant Jose Jesus
22
     Aguilar-Madriz.      The April 14, 2014 Status Hearing in this matter is
23
     vacated.
24

25
     Dated:   April 8, 2014
26
27

28

29
     Motion to Dismiss                        2        United States v. Aguilar-Madriz
